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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE



  MARIO COMPEAN                                                        PETITIONER/DEFENDANT



  v.                                               CRIMINAL ACTION NO. 3:06-CR-00050-CRS



  UNITED STATES OF AMERICA                                             RESPONDENT/PLAINTIFF


                                   MEMORANDUM OPINION

         This matter is before the Court on a motion to vacate, set aside, or correct sentence

  pursuant to 28 U.S.C. § 2255 (DN 64) filed pro se by Defendant Mario Compean (“Petitioner”)

  along with an accompanying motion for appointment of counsel pursuant to 18 U.S.C. § 3006A.

  In accordance with 28 U.S.C. § 636(b)(1)(A), the Court referred the matter to United States

  Magistrate Judge Dave Whalin for proposed findings of facts and recommendations. In his

  Report and Recommendation (the “Report”), Judge Whalin recommends that Petitioner’s motion

  should be denied on the ground that he has failed to establish that his conviction resulted from a

  constitutional violation. For the reasons set forth below, the Court agrees with the Report and

  will therefore deny Petitioner’s § 2255 motion. Furthermore, because the Court concludes that

  the interests of justice do not require appointment of counsel, the Court will deny Petitioner’s

  motion for appointment of counsel.

                                          BACKGROUND

         On March 2, 2007, Petitioner was convicted by a jury of: 1) conspiracy to possess and

  distribute cocaine in violation of 21 U.S.C. § 846; and 2) aiding and abetting possession with

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  intent to distribute cocaine in violation of 21 U.S.C. § 841(a)(1). (Jury Verdict, DN 116). On July

  9, 2007, this Court sentenced Petitioner to serve 235 months of imprisonment followed by a five-

  year term of supervised release. (Commitment Order, DN 141, at 3). Petitioner subsequently

  appealed his conviction and sentence on the grounds that the prosecutor had made several

  improper comments during closing argument and that the district judge did not properly consider

  all relevant sentencing factors under 18 U.S.C. § 3553(a). On March 24, 2009, the Sixth Circuit

  affirmed Petitioner’s conviction but reversed his sentence and remanded for more “detailed

  consideration of the § 3553(a) [sentencing] factors.” United States v. Delgadillo, 318 Fed. Appx.

  380, 387 (6th Cir. 2009) (DN 167).

         On remand, we carefully reevaluated Petitioner’s sentence in light of all relevant §

  3553(a) sentencing factors but ultimately decided to reimpose his 235-month term of

  imprisonment. (Resentencing Hrg. Transcript, DN 209, at 58–74). Petitioner once again appealed

  his sentence, this time arguing that it was procedurally and substantively unreasonable to the

  extent that it was based on clearly erroneous findings of fact and failed to consider numerous

  sentencing factors. (Order, DN 226, at 1). On appeal, the Sixth Circuit rejected these arguments

  and affirmed Petitioner’s sentence. (Order, DN 226, at 2–3).

         Shortly thereafter, Petitioner filed the present motion to vacate, set aside, or correct

  sentence pursuant to 28 U .S.C. § 2255, arguing that his conviction must be set aside on the basis

  of several alleged constitutional violations. Specifically, Petitioner’s § 2255 motion asserts that :

  1) his trial counsel rendered ineffective assistance by failing to advise him of a plea offer

  tendered by the government; 2) his appellate counsel rendered ineffective assistance by failing to

  raise certain arguments on appeal; 3) the prosecutor knowingly introduced perjured testimony at

  trial; and 4) his sentence constitutes cruel and unusual punishment. In accordance with 28 U.S.C.



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  § 636(b)(1)(A), the Court referred the matter to United States Magistrate Judge Doug Whalin for

  proposed findings of facts and recommendations. In his Report and Recommendation (the

  “Report”), Judge Whalin recommends that the Court deny Petitioner’s § 2255 motion on the

  ground that he has failed to establish that his conviction resulted from a constitutional violation.

         The Report first addresses Petitioner’s claim that his sentence was excessive insofar as it

  was based on factual misrepresentations made by the prosecutor at his sentencing hearing.

  Without reaching the merits, the Report concludes that Petitioner’s excessive sentence claim

  cannot serve as the basis for his § 2255 motion because Petitioner had previously litigated a

  similar, if not identical, claim on direct appeal. According to the Report, Petitioner argued on

  direct appeal that “his sentence is unreasonable both procedurally and substantively because the

  District Court relied on clearly erroneous findings of fact…” (Report, DN 246, at 6). While

  acknowledging that Petitioner has “slightly change[d] his argument” by “alleg[ing] that the

  prosecutor made knowing misstatements during his re-sentencing,” the Report nevertheless

  concludes that “the fundamental nature of the claim of an unreasonable sentence remains

  unchanged.” (Report, DN 246, at 6). Because “[a] § 2255 motion may not be used to relitigate an

  issue that was raised on appeal absent highly exceptional circumstances,” Dupont v. United

  States, 76 F.3d 108, 110 (6th Cir. 1996), the Report therefore recommends that the Court deny

  Petitioner’s excessive sentence claim.

         The Report next addresses Petitioner’s claim that his appellate counsel rendered

  ineffective assistance by failing to raise a claim of prosecutorial misconduct on direct appeal, and

  in so doing also addresses Petitioner’s underlying claim of prosecutorial misconduct. According

  to Petitioner, his appellate counsel should have argued on appeal that his conviction should be

  reversed because the prosecutor had knowingly introduced perjured testimony at trial. As the



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  Report points out, however, Petitioner’s prosecutorial misconduct claim was based entirely on

  inconsistencies between the testimony of various witnesses and thus in no way demonstrated that

  the prosecutor actually knew the falsity of the allegedly perjured testimony. After citing Wilson

  v. Parker, 515 F.3d 682 (6th Cir. 2008), for a statement of the appropriate standard of review for

  claims of ineffective assistance of appellate counsel, the Report concludes that Petitioner “failed

  to satisfy either prong of the Strickland test” because 1) counsel was not deficient for failing to

  raise the “inherently weak” claim of prosecutorial misconduct; and 2) Petitioner failed to

  establish that the result of his appeal would have been different had his appellate counsel raised

  the claim. Thus, the Report recommends that the Court deny Petitioner’s ineffective assistance of

  appellate counsel claim as well as the underlying prosecutorial misconduct claim.

         The final claim addressed by the Report is Petitioner’s claim that his trial counsel

  rendered ineffective assistance by failing to inform him of a plea offer tendered by the

  government. According to Petitioner, he fully intended to accept responsibility for his actions by

  pleading guilty but his attorney “never disclosed… that the Government had proposed a plea

  offer…” (DN 261 at ¶ 8). Petitioner insists that, had he been made aware of the government’s

  offer, he would have definitely accepted it, thereby reducing his sentencing exposure and likely

  resulting in a substantially lesser sentence. To support this claim, Petitioner supplemented his §

  2255 motion with a personal affidavit stating, inter alia, that:

         1. His attorney failed to advise him that there were advantages in pursuing the plea
            agreement, including the fact that “there was a sentence reduction for acceptance of
            responsibility.” (Petitioner Affidavit, DN 261, at 1).

         2. His attorney failed to inform him that the “Government had proffered a plea…” and
            “never initiated a conversation… about a plea agreement.” (Petitioner Affidavit at 1).

         3. Had he been aware of the possibility of a plea agreement, Petitioner would have
            insisted that his attorney approach the government to negotiate a plea agreement.
            (Petitioner Affidavit at 2).

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  Based on his affidavit, Petition claims that his attorney clearly rendered ineffective assistance by

  failing to adequately represent his interests in the plea negotiation process.

         Notwithstanding Petitioner’s affidavit, the Report concludes that Petitioner failed to

  satisfy the “heavy burden” of establishing a claim of ineffective assistance of counsel based on

  an attorney’s failure to inform his client of a plea offer. Relying on Guerrero v. United States,

  383 F.3d 409 (6th Cir. 2004), the Report concluded that, in order for his ineffective assistance

  claim to be viable, Petitioner needed to establish that: 1) the government extended a formal offer

  to enter into a plea agreement; 2) Petitioner’s counsel failed to inform him of the government’s

  offer; and 3) Petitioner would have accepted the government’s offer, thereby ultimately reducing

  the length of his sentence. Based on the record of the trial court proceedings as well as an

  undisputed affidavit of Petitioner’s attorney stating that he had discussed the possibility of a plea

  offer with Petitioner, the Report concludes that Petitioner failed to establish that the government

  had extended a formal plea offer. Therefore, the Report recommends that Petitioner’s ineffective

  assistance of trial counsel claim should be denied.

         In accordance with 28 U.S.C. § 636(b)(1)(C), Petitioner has raised several objections to

  the Report, with respect to which this Court must now make a de novo determination. For the

  reasons set forth below, the Court finds Petitioner’s objections unavailing and will therefore

  adopt the Report in full.

                                             STANDARD

         To obtain habeas relief under 28 U.S.C. § 2255, the petitioner must demonstrate that his

  “sentence was imposed in violation of the Constitution or laws of the United States, or that the

  court was without jurisdiction to impose such sentence, or that the sentence was in excess of the

  maximum authorized by law, or is otherwise subject to collateral attack....” 28 U.S.C. § 2255(a).

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  For motions based on constitutional error, the petitioner “must establish an error of constitutional

  magnitude which had a substantial and injurious effect or influence on the proceedings.” Watson

  v. United States, 165 F.3d 486, 488 (6th Cir. 1999) (citing Brecht v. Abrahamson, 507 U.S. 619,

  637–38 (1993)). Importantly, however, “a § 2255 motion may not be used to relitigate an issue

  that was raised on appeal absent highly exceptional circumstances,” such as an intervening

  change in the law. Dupont v. United States, 76 F.3d 108, 110 (6th Cir. 1996).

         When a § 2255 motion has been referred to a magistrate judge for proposed findings and

  recommendations under 28 U.S.C. § 636(b)(1)(B), “the court shall make a de novo determination

  of those portions of the report or specified proposed findings or recommendations to which

  objection is made” and “may accept, reject, or modify, in whole or in part, the findings or

  recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1)(C). Thus, although all

  timely objections must be addressed, 28 U.S.C. § 636(b)(1)(c), “[i]t does not appear that

  Congress intended to require district court review of a magistrate's factual or legal conclusions,

  under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

  Arn, 474 U.S. 140, 150 (1985). Moreover, “Poorly drafted objections, general objections, or

  objections that require a judge's interpretation should be afforded no effect and are insufficient to

  preserve the right of appeal.” United States v. Mullikin, No. 5:05-162-JMH, 2013 WL 3107560

  (E.D. Ky. June 18, 2013) (citing Howard v. Sec'y of Health & Human Servs., 932 F.2d 505, 509

  (6th Cir. 1991)).




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                                             DISCUSSION

  A. Petitioner’s Objections

         Petitioner has raised several objections to the Report. In accordance with 28 U.S.C. §

  636(b)(1)(C), the Court will now proceed to make a de novo determination of all issues raised by

  Petitioner’s objections.

  i. Ineffective Assistance of Appellate Counsel

         Petitioner first objects that the Report misconstrued his ineffective assistance of appellate

  counsel claim and thus incorrectly concluded that it should be denied. According to Petitioner,

  his claim of ineffective assistance is based not only on his appellate counsel’s failure to raise the

  issue of prosecutorial misconduct, but also his failure to raise the argument that Petitioner

  received an excessive sentence based on alleged misrepresentations made by the prosecutor

  during his sentencing hearing. (Petitioner’s Objections, DN 264, at 2). To the extent it failed to

  recognize this extra dimension of his argument, Petitioner claims that the Report did not

  adequately address his claim of ineffective assistance of appellate counsel.

         Contrary to Petitioner’s claim, however, his appellate counsel did in fact raise the

  argument that Petitioner received an excessive sentence. On appeal, Petitioner’s counsel

  “argue[d] that his sentence is unreasonable both procedurally and substantively because the

  district court relied on clearly erroneous findings of fact and failed to consider numerous

  sentencing factors.” (Order, DN 226, at 1). Although Petitioner’s counsel did not explicitly

  attribute the alleged errors to misrepresentations made by the prosecution, he nevertheless relied

  on the same “erroneous findings of fact” identified by Petitioner—namely, the Court’s findings

  regarding “the number of drug transactions in which he was involved and the period of time in

  which he was operating.” (Order, DN 226, at 2). The decision of Petitioner’s counsel not to



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  emphasize the prosecutor’s role in creating these “erroneous findings of fact” certainly does not

  rise to the level of ineffective assistance, but instead falls within the broad range of strategic

  discretion within which counsel is entitled to operate. Thus, the Court concludes that Petitioner’s

  objection lacks merit and will therefore adopt the Report’s recommendation that Petitioner’s

  ineffective assistance of appellate counsel claim must be denied.

  ii. Excessive Sentence

         Petitioner next objects to the Report’s conclusion that he previously litigated his

  excessive sentence claim on direct appeal and therefore may not base his § 2255 motion on the

  same argument. According to Petitioner, “[t]he 2255 motion’s arguments…were distinct from

  the contents of the issues raised on direct appeal and there was no relevance between them” and

  “[n]either the United States nor the Magistrate Judge provided any specifics between the 2255

  motion… and the direct appeal arguments that would substantiate that the 2255 issues were the

  relitigation of the direct appeal arguments.” (Petitioner’s Objections, DN 264, 2–3). At bottom,

  these objections constitute general objections that do not merit consideration. “Poorly drafted

  objections, general objections, or objections that require a judge's interpretation should be

  afforded no effect and are insufficient to preserve the right of appeal.” United States v. Mullikin,

  No. 5:05-162-JMH, 2013 WL 3107560 (E.D. Ky. June 18, 2013) (citing Howard v. Sec'y of

  Health & Human Servs., 932 F.2d 505, 509 (6th Cir. 1991)). While Petitioner complains that the

  Report did not “provide[] any specifics” to support its conclusion that Petitioner previously

  litigated his excessive sentence claim on direct appeal, he himself has failed to provide any

  specifics supporting his argument that “there was no relevance” between the arguments he made

  on direct appeal and his excessive sentence claim. Therefore, the Court will adopt the Report’s

  recommendation that Petitioner’s excessive sentence claim must be denied.



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  iii. Prosecutorial Misconduct

         Although Petitioner appears to disagree with the Report’s conclusion respecting his

  prosecutorial misconduct claim, he fails to raise a substantive objection the Report’s conclusion.

  In Paragraph 7 of his Objections, Petitioner states that:

         The United States chose not to adhere to the Court order that it was to respond to
         Mario's allegations, which may be considered to be a surrender of Mario's
         claims… The… prosecutor needed to address or justify Harris, the government's
         main witness, testifying that the last time he spoke with Rafael, Harris' drug
         source, was in 2005 (without Rafael, any drugs delivered in 2006 would be from
         Mario), but in cross-examination, Harris testified that he spoke with Rafael in
         2006 about a debt in Mario's presence; Harris meeting Mario in the mall in 2006
         was not explained, but Mario testified that he met Harris in the mall for the first
         time in 2006 to collect an investment he had made with Rafael to start a
         construction business and this was not challenged by the United States; Bautista,
         the second government witness, testified that the third delivery of cocaine,
         according to Harris, never happen; Bautista never questioned about the two drug
         deliveries in 2005 for 50 and 35 kilograms of cocaine each which would have
         corroborated Harris' testimony; and the United States informing the Court that
         Bautista corroborated Harris' testimony at sentencing. The United Stated needed
         to respond to these allegations and the Magistrate should have evaluated the
         answers.

  (Petitioner’s Objections, DN 264, at 3). It thus appears that Petitioner’s objection is

  rooted solely in the alleged failure of the Report to consider whether the testimony

  presented by the prosecutor was actually perjured. However, because the Report’s

  recommendation was based on the absence of evidence that the prosecutor actually knew

  the allegedly perjured testimony was false, the question of whether the testimony was in

  fact perjured is wholly irrelevant to the viability of Petitioner’s claim of prosecutorial

  misconduct. Thus, even assuming Petitioner is correct that the prosecutor introduced

  perjured testimony, the Report’s conclusion that his prosecutorial misconduct claim lacks

  merit would be unaffected. For this reason, the Court will adopt the Report’s




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  recommendation that his prosecutorial conduct claim should be denied notwithstanding

  Petitioner’s objection.

  iv. Ineffective Assistance of Trial Counsel

         With respect to the Report’s conclusion regarding his ineffective assistance of trial

  counsel claim, Petitioner objects “to each unfavorable finding of fact and each

  conclusion of law” made by the Report. (Petitioner’s Objections, DN 273, at 1). This is a classic

  example of a general objection that “should be afforded no effect…” United States v. Mullikin,

  No. 5:05-162-JMH, 2013 WL 3107560 (E.D. Ky. June 18, 2013) (citing Howard v. Sec'y of

  Health & Human Servs., 932 F.2d 505, 509 (6th Cir. 1991)). At a minimum, objecting parties

  have a duty to specifically set forth the basis for their objection and specify those portions of the

  Report to which they wish to object. To the extent Petition has failed to fulfill this duty with

  respect to his ineffective assistance of trial counsel claim, the Court concludes that it need not

  address Petitioner’s objection and will therefore adopt the recommendation of the Report.

         Having considered Petitioner's objections and having made a de novo determination, the

  Court concludes that Petitioner’s § 2255 motion is without merit and will therefore adopt the

  Report in full.

  B. Motion for Appointment of Counsel

         Petitioner has also filed a motion for appointment of counsel pursuant to 18 U.S.C. §

  3006A. 18 U.S.C. § 3006A(a)(2)(B) provides that, when a petitioner is seeking relief under §

  2255, “representation may be provided” when “the interests of justice so require.” Id. (emphasis

  added). Thus, in the absence of an evidentiary hearing, the decision to appoint counsel is within

  the sound discretion of the court. Mira v. Marshall, 806 F.2d 636, 638 (6th Cir. 1986). Here, no

  evidentiary hearing is necessary, and thus Petitioner’s motion for appointment of counsel must



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  only be granted if “the interests of justice so require.” 18 U.S.C. § 3006A(a)(2)(B). According to

  Petitioner, the interests of justice require the appointment of counsel because his “lack of English

  language proficiency and lack of legal training create a level of systemic prejudice that is

  impossible for [him] to overcome.” (Petitioner’s Objections, DN 272, at 1).

         After careful consideration, the Court concludes that the interests of justice do not require

  that counsel be appointed. Petitioner submitted a well-reasoned § 2255 motion as well as his own

  objections to the Report, and has not presented any unusual complexities, problems, or conflicts

  that warrant appointment of counsel. Although Petitioner claims that he lacks proficiency in both

  the English language and the law, his pro se § 2255 motion and the objections he filed to the

  Report demonstrate that his alleged lack of proficiency in these areas is not quite as dire as he

  would have the Court believe. For these reasons, the Court will deny Petitioner’s motion for

  appointment of counsel.

                                           CONCLUSION


         For the reasons set forth above, the Court concludes that Petitioner’s objections to the

  Report are without merit and will therefore adopt the Report in full.

         A separate order will be entered in accordance with this opinion.




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                                                  November 25, 2013



   cc: Counsel of Record
       Petitioner, pro se


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